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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF KENTUCKY

JAMES H. ROBERTS
           Debtor

AND                                                Case No. 06-10771
                                                   Chapter 7

MARSHA L. ROBERTS
           Debtor


                          NOTICE OF NON-REPRESENTATION


       Notice is hereby given that the undersigned no longer represents Campbellsville National

Bank as a Creditor in the above-referenced case.

       This 25th day of March, 2019.



                                            /s/ James R. Laramore
                                            Hon. James R. Laramore
                                            P O Box 1926
                                            Bowling Green, KY 42102-1926
